        Case 3:12-cr-04582-GPC                   Document 152        Filed 02/28/14           PageID.1663        Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                     F
                                          UNITED STATES DISTRICT COURT                                              FEB 28 2D14
                                               SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES OF AMERlCA                             JUDGMENT IN A CRIM~~~~~~~YEJ
                                     V.
              GERARDO DIONICIO-ESTRADA (2)
              Charged As: Gerardo Dionicio Estrada                       Case Number:         12CR4582-GPC

                                                                      ALEX LANDON
                                                                      Defendant's Attorney
REGISTRATION NO.                     35262298
D
~       pleaded guilty to count(s)          ONE OF THE SUPERSEDING INDICTMENT

D       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                           Nature of Offense                                                           Numberlsl
21 USC 952, 960,963                       CONSPIRACY TO IMPORT METHAMPHETAMINE                                              1




     The defendant is sentenced as provided in pages 2 through                  4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D       The defendant has been found not guilty on count(s)

I'V'I   C      t()   UNDERLYING INDICTMENT AND
I.C>I       oun s    REMAINING COUNT                            is          dismissed on the motion of the United States.


~       Assessment: $100.00 WAIVED




~       Fine waived              D Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      FEBRUARY 28. 2014
                                                                      Date of Imposition of Sentence




                                                                                                                     12CR4582·GPC
      Case 3:12-cr-04582-GPC           Document 152        Filed 02/28/14         PageID.1664      Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                 GERARDO DIONICIO-ESTRADA (2)                                           Judgment - Page 2 of 4
CASE NUMBER:               12CR4582-GPC

                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
21 MONTHS




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI     The court makes the following recommendations to the Bureau of Prisons:
        That the defendant be designated to an institution in Western Region of the United States.




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
        D at                               A.M.              on
                -----------------
             as notified by the United States Marshal.
                                                                  -------------------------------------

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
        D     on or before
        D     as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

                                                                          to
        Defendant delivered on
                                 --------------------------                    -------------------------------
at
      ------------------------ , with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR4582-GPC
           Case 3:12-cr-04582-GPC                  Document 152              Filed 02/28/14            PageID.1665             Page 3 of 4
    AO 245B (CASD Rev. 08/13) judgment in a Criminal Case

    DEFENDANT:                  GERARDO DIONICIO-ESTRADA (2)                                                                  judgment - Page 3 of 4
    CASE NUMBER:                12CR4582-GPC

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September] 3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

         Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
    of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;
    6) the defendant shall notii)' the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    II) the defendant shall notii)' the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notii)' third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notification requirement.



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     Case 3:12-cr-04582-GPC         Document 152         Filed 02/28/14     PageID.1666        Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            GERARDO DIONICIO-ESTRADA (2)                                           Judgment - Page 4 of 4
CASE NUMBER:          12CR4582-GPC

                                SPECIAL CONDITIONS OF SUPERVISION

If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States illegally
and report to the probation officer within 24 hours of any reentry to the United States; supervision waived upon
deportation, exclusion, or voluntary departure.


/I




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